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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

 ----------------------------------------------------------X
 TROOPER 1,

                                   Plaintiff,
                                                                MEMORANDUM AND ORDER
                    -against-
                                                                  22-CV-893 (LDH) (TAM)
  NEW YORK STATE POLICE, ET AL.,

                                    Defendants.
 ----------------------------------------------------------X

  TARYN A. MERKL, United States Magistrate Judge:

          On February 17, 2022, Trooper 1 (“Plaintiff”), a member of former New York

  Governor Andrew Cuomo’s Protective Service Unit (“PSU”), initiated this action

  alleging that Cuomo sexually harassed her and other state employees. (Compl., ECF

  No. 1.) The amended complaint named as Defendants the New York State Police

  (“NYSP”), Cuomo, Melissa DeRosa, and Richard Azzopardi. (See First Am. Compl.

  (“FAC”), ECF No. 7; Second Am. Compl. (“SAC”), ECF No. 71.) Currently before the

  Court is a motion by which Defendant Cuomo asks the Court to de-designate three

  documents marked confidential that Cuomo filed as exhibits in connection with

  discovery motions related to Cuomo’s efforts to subpoena documents from the New

  York State Office of the Attorney General (“OAG”). (Mot. for Disclosure, ECF No. 288.)

  See Cuomo v. Off. of the New York State Att’y Gen., No. 22-MC-3044 (LDH) (TAM), ECF

  Nos. 79-3, 79-4, 79-8. Specifically, Cuomo requests that three text message threads

  between Plaintiff and her former fiancé Charles Brown, which Plaintiff Trooper 1

  designated as confidential, be de-designated and unsealed by the Court. The motion for

  de-designation is denied.
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               FACTUAL BACKGROUND AND PROCEDURAL HISTORY

         Of relevance to the current motion, discovery in this case commenced following

  the initial conference, which was held on June 6, 2022.1 (June 6, 2022 Min. Entry &

  Order.) On April 24, 2023, the Court entered a confidentiality order permitting the

  designation as confidential certain discovery material, including materials described as

  “Sensitive Information and Data,” and specifying that the definition of producing party

  may include “any party or nonparty making a production of documents or information

  in this matter.” (Am. Confidentiality Order, ECF No. 68, at 1.)

         Currently before the Court is Defendant Cuomo’s letter motion to de-designate

  materials marked confidential by Plaintiff Trooper 1. (Mot. for Disclosure, ECF No. 288,

  at 1–3.) Trooper 1 objects. (Id. at 3–5.)

         This is not Defendants’ first de-designation motion. As detailed in an opinion

  issued by the Court last year, Defendants previously sought to de-designate portions of

  a deposition transcript and text messages involving a potential non-party witness, as

  well as text messages between that witness and another non-party. (Mem. & Order, ECF

  No. 252.) See Trooper 1 v. New York State Police, No. 22-CV-893 (LDH) (TAM), 2024 WL

  1349122 (E.D.N.Y. Mar. 29, 2024) (hereinafter “Trooper 1 De-Designation I”). In denying

  the prior motion, the Court observed that that this case “exemplifies ‘the vital function

  of a protective order . . . , which is to secure the just, speedy, and inexpensive




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           This opinion assumes general familiarity with the substance and history of this case, as
  well as the fact that the New York State Office of the Attorney General and the New York State
  Assembly Judiciary Committee conducted investigations into allegations of sexual harassment
  by former Governor Cuomo while he was in office, which investigations resulted in public
  reports published in August 2021 and November 2021, respectively. See generally Cuomo v. New
  York State Assembly Judiciary Comm., 683 F. Supp. 3d 258 (E.D.N.Y. 2023), reconsideration denied
  sub nom. Cuomo v. Off. of the New York State Att’y Gen., 727 F. Supp. 3d 231 (E.D.N.Y. 2024).


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  determination of civil disputes by encouraging full disclosure of all evidence that might

  conceivably be relevant.’” Id. (quoting Martindell v. Int’l Tel. & Tel. Corp., 594 F.2d 291,

  295 (2d Cir. 1979) (quotation marks and citation from Martindell omitted)).

         In the current motion, Cuomo contends that the text messages he seeks to de-

  designate (1) “do not contain the sort of personal information that is covered by the

  operative [confidentiality] order,” (Mot. for Disclosure, ECF No. 288, at 1); and (2) are

  “referenced in and inherent to judicial documents that factored into the Court’s

  consideration of an important issue,” (id. at 2).2 Just as with the prior de-designation

  motion:

         Adopting Defendants’ reasoning would open a Pandora’s box of motions
         in this already fraught case. Parties from whom discovery is sought could
         have concerns that Defendants will seek to pull the rug out from under
         them after they have already provided discovery; they thus may find it
         necessary to seek additional protective orders from the Court because the
         confidentiality order cannot be relied upon. In the alternative, parties who
         are seeking to publicize some aspect of discovery that they find favorable
         to their side may seek to strategically de-designate material provided in
         confidence claiming that it concerns information that is already in some
         way public. This could, in turn, result in requests that the Court sift
         through the mountains of discovery that Defendants are seeking to




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            Similar to the approach taken in the prior de-designation motion, Cuomo posits that
  the text messages pertain to topics that Trooper 1 purportedly “did not customarily” keep
  private, and that because they concern similar content as information that is already “public,”
  the texts cannot be sealed under the confidentiality order’s terms. (Mot. for Disclosure, ECF No.
  288, at 2.) Although the Court is of course sensitive to the important distinction between
  publicly available information and private information, and does not condone over-designation
  of information as confidential under the guise of the confidentiality order in this case, prior
  disclosure of certain sensitive information by a third party does not negate a party’s ability to
  seek confidential treatment of different sensitive information. As Plaintiff correctly asserts: “It is
  the texts themselves that are ‘non-public,’ ‘confidential,’ and ‘personal,’ not the abstract topics
  or themes they happen to touch upon.” (Id. at 4.)


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         generate in this case to compare the discovery to information that is
         arguably available in the public domain.

  Trooper 1 De-Designation I, 2024 WL 1349122, at *3.

         For the reasons set forth below, the motion to de-designate the text messages

  produced by Trooper 1 in discovery is denied.

                                         DISCUSSION

  I. Legal Standards

         The Court incorporates by reference the fuller discussion of the background law

  concerning confidentiality orders, what constitutes reasonable reliance on a

  confidentiality order, and First Amendment implications, all of which was discussed at

  some length in Trooper 1 De-Designation I, 2024 WL 1349122, at *3–4. It is well settled that

  confidentiality orders “must be construed according to general principles of contract

  law” in evaluating whether a confidentiality order applies to material designated

  confidential. City of Hartford v. Chase, 942 F.2d 130, 134 (2d Cir. 1991). The plain meaning

  of the words in the order controls. Id. at 135. In the event of a challenge to a

  confidentiality designation, “the burden of establishing that there is good cause to

  protect the designated materials rests at all times with the party seeking protection.” In

  re Zyprexa Inj., 474 F. Supp. 2d 385, 416 (E.D.N.Y. 2007).

         A district court should not modify a confidentiality order, generally speaking,

  where “there has been reasonable reliance by a party or deponent” unless there is “a

  showing of . . . some extraordinary circumstance or compelling need.” S.E.C. v.

  TheStreet.Com, 273 F.3d 222, 229 (2d Cir. 2001) (quotation marks omitted). “There is a

  strong presumption against modifying protective orders because they serve the vital

  function of ensuring just, speedy, and inexpensive determination of civil disputes by

  encouraging full disclosure of all relevant evidence.” Arcesium LLC v. Advent Software,


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  Inc., No. 20-CV-4389 (MKV), 2022 WL 621973, at *3 (S.D.N.Y. Mar. 3, 2022) (citation

  omitted).

         Four relevant factors (the “Charter Oak factors”) guide courts in the Second

  Circuit in the determination of whether a party has reasonably relied on a protective

  order: “(1) the scope of the protective order; (2) the language of the order itself; (3) the

  level of inquiry the court undertook before granting the order; and (4) the nature of

  reliance on the order.” Charter Oak Fire Ins. Co. v. Electrolux Home Prods., Inc., 287 F.R.D.

  130, 132 (E.D.N.Y. 2012) (quotation marks omitted); see also Bartlett v. Société Générale de

  Banque au Liban SAL, No. 19-CV-07 (CBA) (TAM), 2023 WL 8828864, at *4–5 (E.D.N.Y.

  Dec. 21, 2023) (applying the Charter Oak factors).

         As discussed in Trooper 1 De-Designation I, the Court is cognizant that

  confidentiality orders may impair First Amendment rights, but it is well settled that the

  district courts’ “power to seal extends to court filings and documents produced in

  discovery.” In re Zyprexa, 474 F. Supp. 2d at 413; see also id. at 413–14 (discussing the

  broad scale of modern discovery and the risks it poses to privacy and confidentiality).

  In addition, as the Supreme Court observed in Seattle Times Co. v. Rhinehart, pre-trial

  discovery proceedings “are not public components of a civil trial,” and “were not open

  to the public at common law. . . . Therefore, restraints placed on discovered, but not yet

  admitted, information are not a restriction on a traditionally public source of

  information.” 467 U.S. 20, 33 (1984).

  II. Analysis

         Cuomo now seeks de-designation of three documents that contain text messages

  between Trooper 1 and her former fiancé. For the reasons set forth below, Cuomo has

  not demonstrated good cause to modify the confidentiality order. In addition, Trooper 1



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  has met her burden to establish “good cause to protect the designated materials.” In re

  Zyprexa Inj., 474 F. Supp. 2d at 416.

     A. Application of the Confidentiality Order

         Echoing arguments made in the motion underlying the Trooper 1 De-Designation I

  opinion, Cuomo first posits that the materials at issue “do not contain the sort of

  personal information that is covered by the operative order,” arguing that the texts are

  not definitionally “confidential” because (1) they do not comprise information that “‘is

  customarily kept private, or at least closely held, by the person imparting it,’” and

  (2) “‘the party receiving [the information did not] provide[] some assurance that it will

  remain secret.’” (Mot. for Disclosure, ECF No. 288, at 1–2 (quoting Food Marketing Inst.

  v. Argus Leader Media, 588 U.S. 427, 434 (2019).)

         The Court starts with language of the confidentiality order. It states, in pertinent

  part, as follows:

         It is hereby ordered that the following provisions shall govern claims of
         confidentiality in these proceedings, including with respect to any
         documents or information produced by a nonparty pursuant to subpoena:

                (a) The following documents and information may be designated as
                “confidential,” provided such documents are not public and have
                not previously been disclosed by the producing party to anyone
                except those in its employment or those retained by it or in the
                course of carrying out or cooperating with a government
                investigation:

                       (i) Sensitive Information and Data, such as documents,
                       testimony or electronically stored information that can
                       reasonably be construed as revealing a party’s non-public
                       confidential personal, proprietary or investigative
                       information; or documents containing private or confidential
                       personal information, specifically including personnel
                       records or information regarding applicants, employees,
                       former employees, or confidential informants of Defendant
                       New York State Police other than the Plaintiff; or documents
                       or data containing information received in confidence from
                       third parties; or documents containing information which
                       the producing party otherwise believes in good faith to be

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                        entitled to protection under Rule 26(c)(1)(G) of the Federal
                        Rules of Civil Procedure; or information which comprises
                        highly sensitive information relating to criminal
                        investigations, investigation techniques, or other law
                        enforcement related procedures or techniques, or personnel
                        information pertaining to past or current New York State
                        Police employees.

  (Am. Confidentiality Order, ECF No. 68, at 1–2 (footnote omitted).)

         The plain text of the confidentiality order provides that “Sensitive Information

  and Data” may be designated as confidential “provided such documents are not public

  and have not previously been disclosed by the producing party.” (Id. at 1.) In addition,

  the definition of “Sensitive Information and Data” is a non-exclusive list; it expressly

  includes documents, testimony, and electronically stored information, which examples

  are preceded by the phrase “such as.” (Id.) “[T]he use of the term ‘such as’

  confirms[ that] the list is illustrative, not exhaustive.” Bragdon v. Abbott, 524 U.S. 624, 639

  (1998); see also Marvin J. Perry, Inc. v. Hartford Cas. Ins. Co., 615 F. Supp. 2d 432, 436 (D.

  Md. 2009) (applying the Bragdon principle to interpretation of an insurance contract).

  Accordingly, the Court has already found that the confidentiality order is applicable to,

  inter alia, documents, testimony, and electronically stored information that are not

  otherwise public and have not been previously disclosed by the producing party, and

  which “can reasonably be construed as revealing a party’s non-public confidential

  personal, proprietary or investigative information” or “containing information received

  in confidence from third parties.” (Am. Confidentiality Order, ECF No. 68, at 1–2.) See

  Trooper 1 De-Designation I, 2024 WL 1349122, at *6.

         Cuomo argues that, here, Trooper 1 shared her “political, professional, and

  personal views with numerous friends and colleagues,” and that due to that purported

  course of conduct, Trooper 1 did not intend to keep the text messages at issue “private



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  or closely held” because the text messages at issue contain a similar type of information.

  (Mot. for Disclosure, ECF No. 288, at 2.)

         By its terms, the confidentiality order in this case may be used to protect

  “Sensitive Information and Data” that is not public and has not been previously

  disclosed. Cuomo has not shown that the texts are public or have been previously

  disclosed — rather, the record before the Court suggests that the texts at issue were

  transmitted privately and were disclosed during discovery, marked as confidential. (Id.

  at 3–4.) Cuomo has not offered any specific evidence that Trooper 1 or her former fiancé

  have, in fact, disclosed the text messages to one or more third parties (in the absence of

  a subpoena or other formal request for documents), or that these non-party witnesses

  have otherwise publicized the communications. Accordingly, the Court finds that the

  text messages themselves are not public even if they touch upon topics Trooper 1 may

  have discussed publicly. See supra note 2.

         The Court now turns to the question of whether the text messages and related

  testimony are “Sensitive Information and Data,” which may be protectable under the

  confidentiality order. As the Court previously observed, “courts have readily

  recognized the inherent privacy interests people have in their own private

  communications, with particular attention to the privacy interests of non-parties.”

  Trooper 1 De-Designation I, 2024 WL 1349122, at *9. See, e.g., United States v. Gatto, No. 17-

  CR-686 (LAK), 2019 WL 4194569, at *8–9 (S.D.N.Y. Sept. 3, 2019) (finding that “the

  privacy interests of the third-parties” related to communications including calls, text

  messages, and emails “outweighs the public’s right of access” and finds that “disclosure

  is unwarranted”); cf. Bakhit v. Safety Marking, Inc., No. 13-CV-1049 (JCH), 2014 WL

  2916490, at *3 (D. Conn. June 26, 2014) (discussing “the privacy concerns implicated by

  the modern cell phone” in denying a request for inspection of cell phones for the
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  purpose of discovery). The Court’s concerns regarding the privacy interests of non-

  parties are heightened where, as here, the documents at issue include communications

  disclosed in confidence by an individual who is not a party to the litigation. Cf. Henry v.

  Bristol Hosp., Inc., No. 13-CV-826 (SRU), 2020 WL 1158464, at *1 (D. Conn. Mar. 10, 2020)

  (“[C]ourts give special weight to the burden on non-parties of producing documents to

  parties involved in litigation.” (quotation marks and alteration omitted)); Cusumano v.

  Microsoft Corp., 162 F.3d 708, 717 (1st Cir. 1998) (“[C]oncern for the unwanted burden

  thrust upon non-parties is a factor entitled to special weight in evaluating the balance of

  competing needs.”); see also Rhinehart, 467 U.S. at 35 (“[D]iscovery also may seriously

  implicate privacy interests of litigants and third parties.”).

         Accordingly, as the Court held in Trooper 1 De-Designation I, private text

  messages, especially communications involving people who are not parties to this

  litigation, may reasonably be considered personal and private and may be protected

  under the protective order, as long as they are not public and have not been previously

  disclosed by the producing party to third parties (outside of the discovery process, or in

  response to a subpoena or request made as part of a governmental investigation). See

  Trooper 1 De-Designation I, 2024 WL 1349122, at *3.

     B. Reasonable Reliance on the Confidentiality Order

         The Court also finds that the Charter Oak factors weigh against modification of

  the confidentiality order and de-designation of the text messages.

         1. Scope of the Confidentiality Order

         As discussed in Trooper 1 De-Designation I, in analyzing the scope of a

  confidentiality order, “it is relevant whether the order is a blanket protective order,

  covering all documents and testimony produced in a lawsuit, or whether it is

  specifically focused on protecting certain documents or certain deponents for a

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 particular reason.” In re EPDM Antitrust Litig., 255 F.R.D. 308, 319 (D. Conn. 2009). A

 blanket order that covers all discovery weighs in favor of modification, id., while a

 protective order that designates specific documents as confidential is not considered to

 be a blanket order, see id. at 320. The confidentiality order here protects “Sensitive

 Information and Data” that is not public and has not been previously disclosed to third

 parties. (Am. Confidentiality Order, ECF No. 68, at 1.) While the confidentiality order

 does not apply to specific pre-identified documents, it is not so broad that the

 producing party has complete discretion as to what may be designated confidential.

 Additionally, for any protective order to be effective in the instant case, it must allow

 for the producing party to exercise discretion due to the many witnesses and sensitivity

 of the topics at issue in this case.3 Here, the Court again finds that the scope of the

 confidentiality order is as specific as is practicable and realistic given the circumstances

 of this case, and that this factor weighs in favor of finding reliance on the order. Trooper

 1 De-Designation I, 2024 WL 1349122, at *10.

        2. The Language of the Order

        In this case, the confidentiality order does not contain any temporal limitations,

 nor does it contemplate procedures for modification of the agreement.4 (Am.



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           As the Court previously observed, Defendants in this case have sought and are seeking
 “a significant volume of personal private and investigative information from numerous non-
 party witnesses.” Trooper 1 De-Designation I, 2024 WL 1349122, at *10 n.11. See generally Trooper 1
 v. New York State Police, No. 22-CV-893 (LDH) (TAM), 2024 WL 165159, at *1–2, 5–6 (E.D.N.Y.
 Jan. 16, 2024) (discussing Cuomo’s robust discovery efforts and entering a protective order
 pertaining to how discovery must proceed).
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           The Court notes that the language of a protective order may undermine reliance where
 it “limits the time period for enforcement, anticipates the potential for modification, or contains
 specific procedures for disclosing confidential materials to non-parties.” In re EPDM Antitrust
 Litig., 225 F.R.D. at 320; see also TheStreet.Com, 273 F.3d at 231 (“For instance, protective orders
 that are on their face temporary or limited may not justify reliance by the parties.”).



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 Confidentiality Order, ECF No. 68.) The only disclosure contemplated by the order,

 beyond for the purposes of the litigation, is in response to compulsory process or as

 required by law. (Id. at 3–4.) This is distinguishable from provisions “permitting non-

 parties to seek access to the protected materials” or contemplating “‘that relief from the

 provisions of the order may be sought at any time.’” In re EPDM Antitrust Litig., 225

 F.R.D. at 320 (quoting Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 126 (2d Cir.

 2006)); see also Tradewinds Airlines, Inc. v. Soros, No. 08-CV-5901 (JFK), 2016 WL 3951181,

 at *2 (S.D.N.Y. July 20, 2016) (noting that the language of an order favors modification

 where “it specifically provides that either party may seek changes to the [o]rder”). This

 factor weighs in favor of reliance.

        3. The Level of Inquiry Undertaken by the Court

        As discussed in Trooper 1 De-Designation I, where an order is granted “upon the

 parties’ stipulation and agreement” absent a showing of good cause, this factor

 generally weighs in favor of modification and against a finding of reliance. In re EPDM

 Antitrust Litig., 225 F.R.D. at 322; see also Charter Oak, 287 F.R.D. at 133. Cf. Trooper 1 De-

 Designation I, 2024 WL 1349122 at *10. Although the confidentiality order here was “so

 ordered” by the Court without findings that specific documents warranted protection,

        at the time the Court entered the confidentiality order, the Court was well
        aware of the highly sensitive nature of the allegations in this case and the
        anticipated broad scope of discovery into sensitive and private matters,
        including but not limited to allegations of Cuomo’s harassment and the
        personal circumstances and histories of the non-party complainants. But
        because the Court did not conduct an item-by-item review of the materials
        that were to be marked confidential, this factor weighs slightly in favor of
        modification.

 Id. (citation omitted).




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          4. The Nature of Reliance

          Here, Trooper 1 takes the position that the texts are “non-public, sensitive, and

 confidential,” and that the texts comprise “communications neither [Trooper 1 nor her

 fiancé] ever intended for the public.” (Mot. for Disclosure, ECF No. 288, at 3.)

 Accordingly, Trooper 1 marked them as confidential as permitted by the confidentiality

 order. On the present record, the Court sees no basis to disturb this designation given

 that the texts involve confidential communications with a non-party and in light of

 Trooper 1’s clear reliance on the confidentiality order that has governed discovery in

 this case for almost two years. See Tradewinds Airlines, 2016 WL 3951181, at *1 (observing

 that “a district court should not modify the [confidentiality] order ‘absent a showing of

 improvidence in the grant of [the] order or some extraordinary circumstance or

 compelling need’” (second alteration in original) (quoting TheStreet.Com, 273 F.3d at

 229)).

    C. The Text Messages are Not Judicial Documents

          Cuomo also argues that the text messages “are referenced in and inherent to

 judicial documents that factored into the Court’s consideration of an important issue,”

 and that Plaintiff’s confidentiality designation should thus be disregarded. (Mot. for

 Disclosure, ECF No. 228, at 2–3 (citing Cumberland Packing Corp. v. Monsanto Co., 184

 F.R.D. 504 (E.D.N.Y. 1999) and arguing that the materials “are central” to an important

 legal dispute in the case, i.e., the ongoing litigation concerning a subpoena issued to the

 New York State Office of the Attorney General and because, Cuomo contends, the texts

 “undermine her own allegations” and other allegations that have been incorporated in

 to the complaint).) Cuomo even goes so far as to argue that “[s]o long as Plaintiff

 continues to pursue public litigation against Governor Cuomo, he is entitled to defend

 himself publicly and to litigate the case in the public eye.” (Id. at 3.)

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        Defendant Cuomo’s reliance on cases concerning the presumption of access to

 judicial documents and the public’s interest in monitoring the administration of justice

 is entirely misplaced.5 Significantly, “the mere filing of a paper or document with the

 court is insufficient to render that paper a judicial document subject to the right of

 public access . . . the item filed must be relevant to the performance of the judicial

 function and useful in the judicial process.” United States v. Amodeo, 44 F.3d 141, 145 (2d

 Cir. 1995) (emphasis added) (“Amodeo I”); see also Dorsett v. County of Nassau, 762 F.

 Supp. 2d 500, 516 (E.D.N.Y.), aff’d, 800 F. Supp. 2d 453 (E.D.N.Y. 2011), aff’d sub nom.

 Newsday LLC v. County of Nassau, 730 F.3d 156 (2d Cir. 2013).

        The text messages Cuomo seeks to de-designate here are not relevant to the

 performance of the judicial function, except insofar as they were appended as exhibits

 to motions concerning the subpoena that Cuomo issued to the OAG in related docket

 number 22-MC-3044, in the context of a motion to compel the subpoena and the OAG’s

 motion to quash. The legal issues addressed in that motion focused on sovereign

 immunity and the OAG’s assertion of privilege over the materials Cuomo is seeking. See

 Cuomo v. Off. of New York State Att’y Gen., No. 22-MC-3044 (LDH) (TAM), ___ F. Supp.

 3d ___, 2024 WL 4593407, at *3 (E.D.N.Y. Oct. 28, 2024). Accordingly, the text messages

 have not been directly relevant to the performance of the judicial function such that

 they are now judicial documents. Phrased another way, the materials Cuomo seeks to




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           The right of public access to judicial documents and the public’s interest in monitoring
 the administration of justice are of course quite well established. See Lugosch, 435 F.3d at 119–20;
 United States v. Aref, 533 F.3d 72, 83 (2d Cir. 2008). In determining whether a document carries a
 presumption of public access or may be sealed, courts must consider three factors: (1) whether
 the document is a “judicial document”; (2) “the weight of the presumption of access to that
 document”; and (3) whether “all of the factors that legitimately counsel against disclosure of the
 judicial document” outweigh “the weight properly accorded the presumption of access.” Mirlis
 v. Greer, 952 F.3d 51, 58–59 (2d Cir. 2020) (quotation marks and citations omitted).

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 de-designate have not been “useful in the judicial process.” Amodeo I, 44 F.3d at 145. The

 presumption of public access does not attach. See Mirlis v. Greer, 952 F.3d 51, 58–59 (2d

 Cir. 2020) (discussing the process by which courts are to evaluate whether a document

 is a judicial document and the weight to be afforded; quoting Amodeo I, 44 F.3d at 145).

        Just as with the prior materials Cuomo sought to de-designate and consistent

 with his position that he is entitled to “litigate the case in the public eye,” the record

 here strongly suggests that Cuomo included the text messages in his sealed filings in

 case number 22-MC-3044 in order to seek to make them publicly available to advance

 his own interests.6 Especially in sensitive, high-profile matters, the Court has a

 responsibility to ensure documents are not filed “‘to gratify private spite or promote

 public scandal’ or ‘serve as reservoirs of libelous statements for press consumption.’”

 Brown v. Maxwell, 929 F.3d 41, 51 (2d Cir. 2020) (quoting Nixon v. Warner Commc’ns, Inc.,

 435 U.S. 589, 598 (1978)). The Court also has a duty to protect the integrity of the judicial

 process and must take steps to ensure that court filings are not made for vexatious

 purposes or “to promote scandal arising out of unproven libelous statements.”7 See id.

 (quotation marks omitted). As the Court previously observed in this case: “Defendants

 may not manufacture motion practice to attempt strategic de-designation of documents




        6
          Here, the materials Defendant Cuomo seeks to de-designate are discovery materials
 that Cuomo chose to append to collateral litigation concerning a subpoena, not judicial
 documents; these documents are not traditionally afforded a public right of access. Cf. Rhinehart,
 467 U.S. at 32–33 (“A litigant has no First Amendment right of access to information made
 available only for purposes of trying his suit. . . . [R]estraints placed on discovered, but not yet
 admitted, information are not a restriction on a traditionally public source of information.”).
        7
          The parties are reminded that the Second Circuit has made clear that courts “may
 employ several methods to fulfill” the function of protecting the integrity of judicial
 proceedings, including issuing protective orders, explaining on the record that defamatory
 statements appear to lack credibility, striking materials, and imposing sanctions. Brown, 929
 F.3d at 51.


                                                 14
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 or other discovery they find favorable when such materials have properly been

 designated as confidential and witnesses have relied upon that designation during

 discovery.” Trooper 1 De-Designation I, 2024 WL 1349122, at *13.

        Cuomo’s argument that there is a public right of access to the three text message

 threads is entirely without merit.

                                      CONCLUSION

        For all of these reasons, Defendant Cuomo’s motion to de-designate confidential

 materials is denied.

        SO ORDERED.

 Dated: Brooklyn, New York
        January 29, 2025
                                          _____________________________________
                                          TARYN A. MERKL
                                          UNITED STATES MAGISTRATE JUDGE




                                            15
